                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

JOHNNY M. HUNT,              )
                             )
     Plaintiff,              )
                             )
vs.                          )                      Case No. 3:23-cv-00243
                             )
SOUTHERN BAPTIST CONVENTION; )                      Judge Campbell
GUIDEPOST SOLUTIONS LLC; and )                      Magistrate Judge Frensley
EXECUTIVE COMMITTEE OF THE )                        Jury Demand
SOUTHERN BAPTIST CONVENTION, )
                             )
     Defendants.             )



                       MOTION FOR LEAVE TO FILE UNDER SEAL


          Pursuant to Rules 5.03 and 7.01 of the Local Rules of Court and the Amended Agreed

Protective Order previously entered in this action (ECF Doc. No. 83), Plaintiff Johnny M. Hunt

respectfully submits this Motion for Leave to File Under Seal the unredacted version of the

Memorandum in Support of Motion to Compel, as well as certain exhibits thereto, submitted by

Plaintiff on January 19, 2024 (ECF Doc. No. 107) until such time as the Court adjudicates the

issues.

          There are a total of seven (7) exhibits accompanying the aforementioned Memorandum in

Support of Motion to Compel (ECF Doc. No. 107), three (3) of which have been designated

“Confidential” or “Highly Confidential – Attorneys’ Eyes Only” under the Amended Agreed

Protective Order (ECF Doc. No. 83). There are also portions of the Memorandum in Support of

Motion to Compel itself that contain references to information that has been designated as

“Confidential” or “Highly Confidential – Attorneys’ Eyes Only” under the Amended Agreed



                                                1

Case 3:23-cv-00243          Document 108       Filed 01/19/24    Page 1 of 5 PageID #: 1314
Protective Order, which has also resulted in the public filing of the Memorandum in Support of

Motion to Compel in redacted form pursuant to Local Rule 5.03(c).

       As set forth in the Joint Discovery Dispute Statement submitted by Plaintiff and

Guidepost on January 9, 2024 (ECF Doc. No. 100) and Plaintiff’s Motion to Compel (ECF Doc.

No. 106), Plaintiff objects to and opposes Guidepost’s “Highly Confidential – Attorneys’ Eyes

Only” designations in its document productions under the Amended Agreed Protective Order.

Without conceding the propriety or the merits of the “Confidential” or “Highly Confidential –

Attorneys’ Eyes Only” designations by Guidepost, Plaintiff files the instant motion in an effort to

ensure compliance with the Local Rules of the Court and the Amended Agreed Protective Order

previously entered in this action on December 4, 2023 (ECF Doc. No. 83), until such time as the

Court adjudicates the issues in the Joint Discovery Dispute Statement and Motion to Compel.

       For the foregoing reasons, and without conceding the merits of the “Confidential” or

“Highly Confidential – Attorneys’ Eyes Only” designations by Guidepost, this Court should

review the exhibits accompanying the Memorandum in Support of Motion to Compel (ECF Doc.

No. 107) and the unredacted version of the Memorandum in Support of Motion to Compel under

seal until such time as the Court adjudicates the issues set forth in the Motion to Compel

submitted by Plaintiff on January 19, 2024 (ECF Doc. No. 106).




         [SIGNATURE BLOCKS AND CERTIFICATE OF SERVICE TO FOLLOW]




                                                2
Case 3:23-cv-00243         Document 108        Filed 01/19/24     Page 2 of 5 PageID #: 1315
Dated:     January 19, 2024          Respectfully submitted,


                                     s/ Andrew Goldstein
                                     Todd G. Cole, Esq., BPR # 031078
                                     Andrew Goldstein, Esq., BPR # 037042
                                     COLE LAW GROUP, P.C.
                                     1648 Westgate Circle, Suite 301
                                     Brentwood, TN 37027
                                     Telephone: (615) 490-6020
                                     Fax: (615) 942-5914
                                     tcole@colelawgrouppc.com
                                     agoldstein@colelawgrouppc.com


                                     -and-


                                     Robert D. MacGill, Esq. (pro hac vice)
                                     Scott E. Murray, Esq. (pro hac vice)
                                     Patrick J. Sanders, Esq. (pro hac vice)
                                     MACGILL PC
                                     156 E. Market St.
                                     Suite 1200
                                     Indianapolis, IN 46204
                                     Telephone: (317) 721-1253
                                     robert.macgill@macgilllaw.com
                                     scott.murray@macgilllaw.com
                                     patrick.sanders@macgilllaw.com


                                     Attorneys for Plaintiff




                                       3
Case 3:23-cv-00243    Document 108    Filed 01/19/24      Page 3 of 5 PageID #: 1316
                                CERTIFICATE OF SERVICE

       I hereby certify that I caused a true and correct copy of the foregoing Motion for Leave to
File Under Seal to be electronically filed with the Clerk of the Court on January 19, 2024, using
the CM/ECF system, which will automatically serve all counsel of record listed below:

 Todd G. Cole, Esq.                               Scarlett Singleton Nokes, Esq.
 Andrew Goldstein, Esq.                           R. Brandon Bundren, Esq.
 COLE LAW GROUP, P.C.                             E. Todd Presnell, Esq.
 1648 Westgate Circle, Suite 301                  BRADLEY ARANT BOULT CUMMINGS
 Brentwood, TN 37027                              LLP
 Telephone: (615) 326-9059                        1600 Division Street, Suite 700
 tcole@colelawgrouppc.com                         Nashville, Tennessee 37203
 agoldstein@colelawgrouppc.com                    Telephone: (615) 244-2582
                                                  snokes@bradley.com
 Robert D. MacGill, Esq.                          bbundren@bradley.com
 Scott E. Murray, Esq.                            tpresnell@bradley.com
 Patrick J. Sanders, Esq.
 MACGILL PC                                       Gene R. Besen, Esq.
 156 E. Market St.                                BRADLEY ARANT BOULT CUMMINGS
 Suite 1200                                       LLP
 Indianapolis, IN 46204                           Fountain Place
 Telephone: (317) 721-1253                        1445 Ross Avenue, Suite 3600
 robert.macgill@macgilllaw.com                    Dallas, Texas 75202
 scott.murray@macgilllaw.com                      Telephone: (214) 257-9758
 patrick.sanders@macgilllaw.com                   gbesen@bradley.com

 Counsel for Plaintiff                            Thomas J. Hurney, Jr., Esq.
                                                  Gretchen M. Callas, Esq.
John R. Jacobson, Esq.                            JACKSON KELLY PLLC
Katharine R. Klein, Esq.                          500 Lee Street East, Suite 1600
RILEY & JACOBSON, PLC                             Post Office Box 553
1906 West End Avenue                              Charleston, West Virginia 25322
Nashville, TN 37203                               Telephone: 304-340-1000
(615) 320-3700                                    thurney@jacksonkelly.com
(615) 320-3737 Facsimile                          gcallas@jacksonkelly.com
jjacobson@rjfirm.com
kklein@rjfirm.com                                 Counsel for the Executive Committee of the
                                                  Southern Baptist Convention




                                               4
Case 3:23-cv-00243        Document 108        Filed 01/19/24      Page 4 of 5 PageID #: 1317
Steven G. Mintz, Esq.                      L. Gino Marchetti, Jr., Esq.
Terence W. McCormick, Esq.                 Matt C. Pietsch, Esq.
Scott Klein, Esq.                          TAYLOR, PIGUE, MARCHETTI & BLAIR,
MINTZ & GOLD LLP                           PLLC
600 Third Avenue                           2908 Poston Avenue
25th Floor                                 Nashville, TN 37203
New York, NY 10016                         Telephone: (615) 320-3225
Telephone: (212) 696-4848                  gmarchetti@tpmblaw.com
mintz@mintzandgold.com                     matt@tpmblaw.com
mccormick@mintzandgold.com
klein@mintzandgold.com                     Counsel for the Southern Baptist Convention

Counsel for Defendant
Guidepost Solutions LLC




                                              s/ Andrew Goldstein
                                              ANDREW GOLDSTEIN




                                          5
Case 3:23-cv-00243        Document 108   Filed 01/19/24   Page 5 of 5 PageID #: 1318
